
966 So.2d 583 (2007)
James F. FISHER
v.
GULF COAST RHEUMATOLOGY ASSOCIATES (A Professional Medical Corporation), Phillip Sedrish, M.D., Marielisa S. Sedrish, M.D., and St. Tammany Hospital Service District No. 2 d/b/a Slidell Memorial Hospital and Medical Center, Aim Interior Contractors, Inc., AIM Construction Corporation and AIM Construction, Inc.
No. 2007-C-1645.
Supreme Court of Louisiana.
October 26, 2007.
In re Fisher, James F.;  Plaintiff; Applying for Writ of Certiorari and/or Review, Parish of St. Tammany, 22nd Judicial District Court Div. I, No. 2002-11631; to the Court of Appeal, First Circuit, No. 2006 CA 1246.
Denied.
